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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


   WSOU INVESTMENTS, LLC d/b/a                   §   CIVIL ACTION NO. 6:20-cv-487-ADA
   BRAZOS LICENSING AND                          §   CIVIL ACTION NO. 6:20-cv-488-ADA
   DEVELOPMENT,                                  §   CIVIL ACTION NO. 6:20-cv-489-ADA
                                                 §   CIVIL ACTION NO. 6:20-cv-490-ADA
          Plaintiff,                             §   CIVIL ACTION NO. 6:20-cv-491-ADA
                                                 §   CIVIL ACTION NO. 6:20-cv-492-ADA
   v.                                            §   CIVIL ACTION NO. 6:20-cv-493-ADA
                                                 §   CIVIL ACTION NO. 6:20-cv-494-ADA
                                                 §   CIVIL ACTION NO. 6:20-cv-495-ADA
   ZTE CORPORATION, ZTE (USA)                    §   CIVIL ACTION NO. 6:20-cv-496-ADA
   INC., AND ZTE (TX), INC.                      §   CIVIL ACTION NO. 6:20-cv-497-ADA
                                                 §
          Defendants.                            §          JURY TRIAL DEMANDED



                         PLAINTIFF’S RESPONSE TO
             STATUS REPORT REGARDING PENDING VENUE MOTIONS

        WSOU respectfully files this Response to Defendants’ Third Status Report Regarding

Pending Venue Motions.

        WSOU remains committed to completing venue discovery and filing its response to

Defendants’ pending motion to dismiss before June 4, 2021 but is waiting (1) on ZTE to finalize

its production and (2) for a resolution of the discovery dispute WSOU raised with the Court in its

April 26, 2021 email, seeking inter alia a deposition of ZTE Corporation. WSOU is prepared to

move forward with a deposition of ZTE Corporation immediately upon an order from the court

compelling ZTE to produce a witness.




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Dated: May 6, 2021                            Respectfully submitted,

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                                              ATTORNEYS FOR PLAINTIFF


                                 CERTIFICATE OF SERVICE
         I certify that on May 6, 2021 a true and correct copy of the foregoing document was served

upon all counsel of record via the Court’s electronic delivery system under this Court’s Local

Rules.




                                                     /s/ Travis Richins
                                                     Travis Richins



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